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 3
      Entered on Docket
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       March 10, 2023
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                              UNITED STATES BANKRUPTCY COURT
14
                                  FOR THE DISTRICT OF NEVADA
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16
     In re:                                             BK Case No. 22-11549-mkn
17                                                      Chapter 7
     CHARLES RANDALL LAZER,
18                                                      Adversary Proceeding: 22-01125-mkn
                                    Debtor.
19                                                      ORDER GRANTING STIPULATION
                                                        FOR DISMISSAL OF ADVERSARY
20   DAPHNE WILLIAMS,                                   PROCEEDING WITH PREJUDICE
21                                  Plaintiff,
22
     vs.
23
     CHARLES RANDALL LAZER,
24
                                    Defendant.
25

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                Order Granting Stipulation for Dismissal of Adversary Proceeding with Prejudice
                                     Adversary Proceeding: 22-01125-mkn
            Case 22-01125-mkn         Doc 12     Entered 03/10/23 13:26:50         Page 2 of 2




1                              ORDER GRANTING STIPULATION FOR
2              DISMISSAL OF ADVERSARY PROCEEDING WITH PREJUDICE
3          Based on the Stipulation for Dismissal of Adversary Proceeding with Prejudice (ECF No.
4 10) (the “Stipulation”) submitted by the Parties, and with good cause having been shown,
5          IT IS HEREBY ORDERED that Stipulation is GRANTED.
6          IT IS FURTHER ORDERED that this adversary proceeding is DISMISSED WITH
7 PREJUDICE, with each party to bear their own costs, attorneys’ fees, and expenses.
8          IT IS SO ORDERED.
9
     Respectfully submitted by:                        Approved by:
10
     /s/ Trey A. Rothell                               /s/ Christopher P. Burke
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14   Las Vegas, Nevada 89118                           Attorney for Defendant
15   Attorneys for Plaintiff                           Charles Lazer
     Daphne Williams
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17                                                 ###

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               Order Granting Stipulation for Dismissal of Adversary Proceeding with Prejudice
                                    Adversary Proceeding: 22-01125-mkn
